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             IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                     Plaintiff/Respondent,

       Vs.                                         Civil Case No. 06-3018-SAC
                                                   Criminal Case No. 00-40024-04-SAC

JIMMY D. MAULDIN,

                     Defendant/Movant.


                           MEMORANDUM AND ORDER

              The court denied the defendant’s motion to vacate, set aside or

correct his sentence pursuant to 28 U.S.C. § 2255 (Dk. 2000) as untimely. (Dk.

2004). The defendant has filed a notice of appeal and request for certificate of

appealability. (Dk. 2010). The defendant asserts he has made a substantial

showing of the denial of a constitutional right.

              As a prerequisite to an appeal from the denial of a motion for relief

under 28 U.S.C. § 2255, a certificate of appealability will issue “only if the applicant

has made a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). This standard requires a petitioner to demonstrate that “reasonable

jurists could debate whether . . . the petition should have been resolved in a

different manner or that the issues presented were adequate to deserve
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encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000)

(internal quotation marks and citation omitted). When the petition has been

dismissed on procedural grounds, a certificate should issue only if “jurists of

reason would find it debatable whether the district court was correct in its

procedural ruling.” Slack v. McDaniel, 529 U.S. at 484.

              The defendant submits nothing of record to show the court erred in its

understanding of the facts or in its application of the law by denying his motion as

untimely. Jurists of reason would not find debatable this court’s ruling on the

untimeliness of the defendant’s petition. Nor can the defendant challenge his

sentence under the recent decision of United States v. Booker, 543 U.S. 220

(2005), as the Tenth Circuit has held it does not apply retroactively to collateral

petitions. United States v. Bellamy, 411 F.3d 1182, 1186 (10th Cir. 2005).

              IT IS THEREFORE ORDERED that the defendant’s request for the

issuance of a certificate of appealability is denied.

              Dated this 14th day of March, 2006, Topeka, Kansas.



                            s/ Sam A. Crow
                            Sam A. Crow, U.S. District Senior Judge




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